              Case 1:18-cv-08128-JPC              Document 46-5        Filed 03/18/19       Page 1 of 1
                Received by NSD/FARA Registration Unit 12/11/2017 10:28:35                                        ^
TlpHJtoweHHe Ka 1                                                                     to the Contract Xa 1003/02-11
                                                                                             from February 28,2011
K /loroBopy Xa 1003/02-11
                                                                                                        approved by
OT 28" 4)eBpajTH 2011 r.
yrBepjKACHO
                                                                                         Additional agreemwtNo. 2
 fl^onojiHWcejmHtiM cornauieHHeM Xa 2                                                      from December-^ 2012
            ftCKaOpa 2012 r.                                                           to the Contract Xa 1003/02-11
 OT
 K ^oroBOpy Xe 1003/02-11                                                                     from February 28,2011
 OT "28" ^eBpajia2011 r.

                                                           TV-programme shall be broadcasted via following
 PerpaHCJiaima TenenporpaMMW ocymecTBJiaerca b             Television Broadcast Systems;
 cne«yiomHx CHcrewax xejteBHSHOHHoro BemaHHa;
                                                           Time Warner Cable North East Region             Albany
 CeTb Time Warner Cable North East Region (bkjiiohw        J<tY), Binghamton (NY), Buffalo (NY), Portland (ME),
 Albany (NY), Binghamton (NY), Buffalo (NY), Portlan
                                                           Rochester (NY), Syracuse (NY));
 (ME). Rochester (NY), Syracuse (NY)):                     24 hours per day, 7 days a week.                      nf
 PerpaHCJiHUHa ocymecTBJiaerca 24 Haca CyTKH, 7 flHefi B   Broadcasting term; 3 (three) years from the beginning of
 Hegemo.                                                    the broadcasting.                     ,< onii
 CpoK pexpaHcjiauHn: 3 (Tpn) roga c AaTW aanajia            Broadcasting shall begin from January 15,2011.
 perpaHCJiaunH.                                             Cost - 1520000 (one million five hundred twenty
 Hanano perpaMcnflUMH; "15" aHsaps 2011 r,                  thousand) US dollars per year.
          ^ ^perpaHCJiauHK -1520000 (oahhmhajihoh
  CTOHMOCTb
  nHTbCOT i^Bfl rrnaTh Tbican) flOJUiapoB CIUA B rog.
                                                           reaei     wfS AHpeKTop \ General director
 reHepajibHbiii AHpeKTOp \ General director                                  inc
 AHO "TB-HoBOfcTH ■\ANO"TV-Novosti’

                                                                       wI^I . r. EanoBCKHli \ A.G. Yazlovsky
                                                                                a
                                        \A.L. Nikolov

                                                               ♦




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